870 F.2d 654Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Brian A. BROWN, a/k/a Bryant Brown, Plaintiff-Appellant,v.DEPARTMENT OF SOCIAL SERVICE OF SOUTHERN MARYLAND, Defendant-Appellee.
    No. 88-7326.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 10, 1989.Decided March 3, 1989.
    
      Brian A. Brown, appellant pro se.
      Before K.K. HALL, PHILLIPS, and SPROUSE, Circuit Judges.
      PER CURIAM:
    
    
      1
      Brian A. Brown appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Brown v. Department of Social Service of Southern Maryland, C/A No. 88-3275 (D.Md. Nov. 14, 1988).  Brown's motions for a stay pending appeal and other relief are hereby denied.  We dispense with oral argument because the dispositive issues recently have been decided authoritatively.
    
    
      2
      AFFIRMED.
    
    